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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

JOSE TAPIA-CORNESO,                        CRIMINAL ACTION
                                           1:07-CR-279-CAP-GGB-37
              Movant,                         CIVIL ACTION
       v.                                     NO. 1:11-CV-3477-CAP
UNITED STATES OF AMERICA,
              Respondent.

                                    O R D E R

       This   action    is    before    the     court    on    the   Report   and

Recommendation (“R&R”) of the magistrate judge [Doc. No. 1940] and

the movant’s motions to vacate order pursuant to Rule 36 [Doc. Nos.

1947    and   1958].         The   court   agrees       with   the   report   and

recommendation of the magistrate judge, and it is received with

approval and ADOPTED as the opinion and order of this court.                  The

motions to vacate [Doc. No. 1947 and 1958] are DENIED.

       SO ORDERED, this 6th day of January, 2012.



                                       /s/ Charles A. Pannell, Jr.
                                       CHARLES A. PANNELL, JR.
                                       United States District Judge
